Case 2:10-md-02179-CJB-DPC Document 12435-3 Filed 02/28/14 Page 1 of 25

Exhibit D
Name:
. Crh.
° ver TY 201 7 ©
Social Security Number/ Individual Taxpayer Identification Number: by .
hast First % SJ > Middte initiat
Spouse Name: . oy Crry Ge
Spouse Social Security Number/ individual Taxpayer identification Number:

Sage we EC SABMES REITs ea ah Ay seta

Authorized Business |
Representative:

Authorized Business Representative Social Security Number/ (ndividual Taxpayer :
Identification Number: ‘ . .

Last First Middle Initial

Middle “So

Spouse Name:

Spouse Social Security Number/ Individual Taxpayer Identification Number:

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if the claimant is: (1} deceased; (2) a minor; or (3) incompetent and legally unable to sign for himself or herself, you must
submit documentation to the Claims Administrator showing your authority to act on behalf of the daimant, if you have not
already done so. See Section 4 of the Registration Form Instructions Booklet for a description of the required documentation.

Middle Initi

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Representative :
Name:

Representative Social Security Number/ Individual Taxpayer lentification
Number:

+

' CJ Deceased [2] Incompetent O Declared Bankrupt (or currently undergoing Bankruptcy
The claimant is: : .
C1 A Minor [J A Dissolved Business Proceedings)
Source of your

‘lauthority to act-as | Court Order Power of Attorney ‘(J Letters of Administration

Representative for {7 Tutorshi Conservatorshi Sanchin a
the claimant: CJ 7 Cl Pp [4 Guardianship 1 other (specify):
oe PoPOG

Claimant ID: 100161855 . . Claim Type: Business Economic Loss

EXHIBIT D-).

Deepwater Horizon Settlement Release and Covenant Not to Sue Claimant ID: 100161855

REL-1
APT ERLLSOU AMIEMESTIO. LI BB UNI CIE, AEAGHED | EUDL/ AND FESALARELEASE,
SETTLEMENT, AND COVENANT NOT TO SUE -

All claimants have the right to consult with an attorney of their own choosing prior to accepting any
settlement payment or signing a release of legal rights. If you are represented by an attorney in
connection with your claim, confer with your attorney before signing this document.

The attached Full and Final Release, Settlement, and Covenant Not to Sue (“Individual Release’) is a binding legal
document. By signing this document, you are forever waiving and releasing ail claims that you may have against BP
or any other party in connection with the Deepwater Horizon Incident (as defined in the Individual Release) except
for Expressly Reserved Claims (as defined in the Individual Release).

By signing the attached Individual Release, you are forever giving up and discharging any rights that
. you may have for any costs, damages, causes of actions, claims, or other relief related to or arising
from the Deepwater Horizon Incident except for Expressly Reserved Claims even if you are not
currently aware of such costs or damages and even if such costs or damages arise in the future (i.e.,
additional oi! impacts) or do not manifest themselves until the future.

By signing the attached Individual Release, you acknowledge that you have read and understand the terms of the
Individual Release, and that you execute the Individual Release voluntarily and without being pressured or
influenced by, and without relying upon, any statement or representation made by any person acting on behalf of
BP or any other released party. ’

The settlement payment you have been offered arises under the auspices of the federal District Court in New
Orleans presiding over the muitidistrict litigation titled Jn re Oi Spill by the Oif Rig “Deepwater Horizon” in the Gulf
of Mexico, on April 20, 2010 (MDL No. 2179). A class action settlement has been proposed in that case, but the
Court has not yet given final approval of that proposed settlement. If the Court does approve the proposed class
action settlement, an appellate court could reverse the approval. In addition, it is possible that the terms of the .
proposed settlement may change in the future—for better or for worse—as a result of further legal proceedings.
However, if you sign this Individual Release, none of those uncertain future events will affect you. By signing this
Individual Release you are forever waiving and releasing all claims that you may have against BP
(except for Expressly Reserved Claims) in exchange for the compensation being provided. In fact, even
if the Court does not approve the proposed class action settlement agreement or the approval is reversed by an
appellate court, you shall continue to be bound by this Individual Release. ° .

For a Business Claimant, if the business is a sole proprietorship and you are the owner and you are married, or if
the business is jointly owned by you and your spouse, both you and your spouse must sign the Individual Release. d
For an Individual Claimant, if you are married, both you and your Spouse must sign the Individual Release. You and
your spouse should not sign the Individual Release unless you both intend to release and give up all of your claims.

By signing below, you acknowledge that you have read and understand the information above. You elect to accept
the payment as a final settlement of all claims against any party in connection with the Deepwater Horizon Incident
except for Expressly Reserved Claims. You consent to the use and disclosure by the Claims Administrator and those
assisting the Claims Administrator of any information that the Claims Administrator believes necessary and/or
helpful to process your claim for compensation and payment and to any legitimate business purposes associated
with administering the settlement facility. Finally, you consent to the Claims Administrator providing documentation
and information to Lead Class Counsel, BP, and the Court as provided for in the Settlement Agreement.

EXHIBIT 52

REL-1 Deepwater Horizon Settlement Release and Covenant Not to Sue Claimant ID: 100161855

Case 2:10-md-02179-CJB-DPC Document 12435-3 Filed 02/28/14 Page 4 of 25

ACKNOWLEDGEMENT

I/We acknowledge that I/we have read and understand the information above. I/We consent to the claimant's
election to accept the payment as a final settlement of all claims of claimant against any party in connection with
the Deepwater Horizon Incident except for Expressly Reserved Claims.

- Date

2 2/2013

abirfpers

Signature of Claimant's Spouse Date

REL-L ‘Deepwater Horizon Settlement Release and Covenant Not to Sue Claimant ID: 100161855
ACER TE EA A EN Page 3 of 20 Claim ID: 123094
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considartien ramen Pakagrapney above id Cla hane ig sing Uae St al be given by the Released
Parties, nor is any representation or warranty in this regard made by virtue of this Individual Release.
Claimant must consult his, her or its own tax advisors regarding the tax consequences of the Individual
Release (including the consideration granted in Paragraph 2 above) and any tax reporting obligations
Claimant may have with respect thereto. Claimant's tax obligations, and the determination thereof, are his,
her, or its sole responsibility, and it is understood that the tax consequences May vary depending on
Claimant's particular circumstances. The Released Parties shall have no liability or responsibility
whatsoever for any such tax consequences resulting from payments under this Individual Release. To the
extent required by law, payments made from the Settlement Trust under this Individual Release will be
reported to the appropriate authorities. my

SIGNATURES

s Signature & Title,
Entity Claimant

ep Name :

imant's Spouse's Name ‘Spouse's Signature, - Date
if applicable

EXHIBIT. D-4

REL-1 : Deepwater Horizon Settlement Release and Covenant Not to Sue Claimant ID: 100161855 -

Case 2:10-md-02179-CJB-DPC Document 12435-3 Filed 02/28/14 Page 6 of 25

IN RE: OIL SPILL by “Deepwater Horizon”

DIRECT FILING SHORT FORM’

Authorized by Order of the Court, Civil Action No. 10 md 2179 Rec. Doc. 982
(Copies of said Order having also been filed in Civil Actions No. 10-8888 and 10-2771)

MDL. 2179 SECTION: J JUDGE CARL BARBIER

CLAIM IN LIMITATION--JOINDER IN MASTER ANSWER--INTERVENTION AND JOINDER
IN MASTER COMPLAINTS — PLAINTIFF/CLAIMANT PROFILE FORM

By submitting this document, | am asserting a claim in Complaint and Petition of Triton Asset Leasing GmbH, et
al., No. 10-2771; adopt and incorporate the Master Answer [Rec. Doc. 244] to the Complaint and Petition of Triton
Asset Leasing Gmbh, et al., in No. 10-2771; and/or intervene into, join and otherwise adopt the Master Complaint
[Rec. Doc. 879] for private economic losses (“B1 Bundle”) filed in MDL No. 2179 (10 md 2179); and/or intervene
into, join and otherwise adopt the Master Complaint [Rec. Doc. 881] for post-explosion injuries (“B3 Bundle”)
filed in MDL No. 2179 (10 md 2179).

| Last Name First Name Middie Name/Maiden Suffix
@iaxD, am = |

Phone Number E-Mail Address |
CEGES29ZO5=7007 Ge |
| Address City / State / Zip

INDIVIDUAL CLAIM CJ BUSINESS CLAIM a

Employer Name Business Name

Job Title / Description Type of Business

Gam
Address Address |
[i

City / State / Zip City / State / Zip |

Last 4 digits of your Social Security Number Last 4 digits of your Tax ID Number

Attorney Name Firm Name

JESSICA B. REILLY RESTIVO & REILLY, LLC
| Address City / State / Zip
| 103400 OVERSEAS HIGHWAY, SUITE 237 KEY LARGO, FL 33037
| Phone Number E-Mail Address

305) 453-4961 jessica@restivoandreilly.com
Claim filed with BP? YEs NO Claim Filed with GCCF?: YES T] NO i
lf yes, BP Claim No.: If yes, Claimant Identification No.:

aL ES ET
Claim Type (Please check all that apply):

oO Damage or destruction to real or personal property oO Fear of Future Injury and/or Medical Monitoring
Hi Earnings/Profit Loss oO Loss of Subsistence use of Natural Resources
oO Personal Injury/Death O Removal and/or clean-up costs

O Other:

' this form should be filed with the U.S. District Court for the Eastern District of Louisiana, 500 Poydras Street, New Orleans, Louisiana 70130, in Civil Action No.
10-8888. While this Direct Filing Short Form is to be filed in CA No. 10-8888, by prior order of the Court, (Rec. Doc. 246, C.A. No. 10-2771 and Rec. Doc. 982 in MDL
2179), the filing of this form in CA. No. 10-8888 shall be deemed to be simultaneously filed in C.A. 10-2771 and MDL 2179. Plaintiff Liaison Counsel, after being
notified electronically by the Clerk of Court of the filing of this Short Form, shall promptly serve this form through the Lexis Nexis service system an Defense Liaison.

1

The filing of this Direct Filing Short Form shail also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profite Form.

Case 2:10-md-02179-CJB-DPC Document 12435-3 Filed 02/28/14 Page 7 of 25
(SE UE: na Re eT Ga SR A pa RS er SR RET

Brief Description:

41. For earnings/profit loss, property damage and loss of subsistence use claims, describe the nature of the injury. For claims
involving real estate/property, include the property location, type of property (residential/commercial), and whether physical
damage occurred. For claims relating to fishing of any type, include the type and location of fishing grounds at issue.

SEE ATTACHED LETTER

2. For personal injury claims, describe the injury, how and when it was sustained, and identify all health care providers and
employers 2008 to present and complete authorization forms for each.

3. For post-explosion claims related to clean-up or removal, include your role in the clean-up activities, the name of your
employer, and where you were working.

2

The filing of this Direct Filing Short Form shail also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.

Case 2:10-md-02179-CJB-DPC Document 12435-3 Filed 02/28/14 Page 8 of 25

Please check the box(es) below that you think apply to you and your claims:
Non-governmental Economic Loss and Property Damage Claims (Bundle B1)

C] 1. Commercial fisherman, shrimper, crabber, or oysterman, or the owner and operator of a business involving fishing, shrimping,
crabbing or oystering.

C 2. Seafood processor, distributor, retail and seafood market, or restaurant owner and operator, or an employee thereof.

B 3. Recreational business owner, operator or worker, including a recreational fishing business, commercial guide service, or charter
fishing business who earn their living through the use of the Gulf of Mexico.

Ol 4. Commercial business. business owner, operator or worker, including commercial divers, offshore oilfield service, repair and
supply, real estate agents, and supply companies, or an employee thereof.

Oo 5. Recreational sport fishermen, recreational diver, beachgoer, or recreational boater.
Ol 6. Plant and dock worker, including commercial seafood plant worker, longshoreman, or ferry operator.

7 Owner, lessor, or lessee of real property alleged to be damaged. harmed or impacted, physically or economically, including
lessees of oyster beds.

O 8. Hote! owner and operator, vacation rental owner and agent, or all those who earn their living from the tourism industry.
C] 9. Bank, financial institution, or retail business that suffered losses as a result of the spill.
(] 10. Person who utilizes natural resources for subsistence.

(J 11. Other:

Post-Explosion Personal Injury, Medical Monitoring, and Property Damage Related to Cleanup (Bundie B3)

0 1. Boat captain or crew involved in the Vessels of Opportunity program.
O 2. Worker involved in decontaminating vessels that came into contact with oil and/or chemical dispersants.

0 3. Vessel captain or crew who was not involved in the Vessels of Opportunity program but who were exposed to harmful chemicals,
odors and emissions during post-exploston clean-up activities.

O 4. Clean-up worker or beach personnel involved in clean-up activities along shorelines and Intercoastal and intertidal zones.
OO 5. Resident who lives or works in close proximity to coastal waters.

O16. Other:

Both BP and the Gulf Coast Claims Facility (‘GCCF”) are hereby authorized to release to the Defendants in MDL
2179 all information and documents submitted by above-named Plaintiff and information regarding the status of any
payment on the claim, subject to such information being treated as “Confidential Access Restricted” under the Order
Protecting Confidentiality (Pre-Trial Order No. 11), and subject to full copies of same being made available to both
the Plaintiff (or his attorney if applicable) filing this form and PSC through Plaintiff Liaison Counsel.

Claimant or Attorney Signature

JESSICA B. REILLY, ESQ.
Print Name

01/08/2013
Date

3

The filing of this Direct Filing Short Form shall also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.

Case 2:10-md-02179-CJB-DPC Document 12435-3 Filed 02/28/14 Page 9 of 25

ATTACHMENT B: CERTIFICATIONS

Claimant hereby signs to attest to and vouch for the accuracy of the certification below:

I certify that I understand and acknowledge that, (subject to my right to additional Settlement Payments, if any,
pursuant to Section 4.4.8 of the Settlement Agreement), I am forever giving up with prejudice and discharging,
without any right of legal recourse whatsoever, any and all rights I have or may have to the Released Claims
against the Released Parties: 1 acknowledge that by having executed the Individual Release and signing
below neither I nor the entity 1 represent has been pressured or influenced by, or is relying on any statement or
representation made by any person acting on behalf of BP or any other Released Party. I certify that I
understand that I have the right to consult with an attorney of my choosing before signing this, Individual
Release.

CERTIFICATION FOR BUSINESS OR PROPERTY CLAIMS

I certify that either:

(1) I have not made an insurance claim or received any insurance proceeds for any business or property Claim
arising out of, due to, resulting from, or relating in any way to, directly or indirectly, the Deepwater
Horizon Incident; OR

(2) If I have made or do make an insurance claim and/or receive or have received insurance proceeds for any.
business or property claim arising out of, due to, resulting from, or relating in any way to, directly or
indirectly the Deepwater Horizon Incident, 1 will indemnify BP for any liability it incurs for a subrogation
claim made against BP arising out of:

(a) such insurance proceeds, provided that the subrogation claim is brought by an entity seeking
payment of insurance proceeds to me for any business or property claim arising out of, due to,
resulting from, or relating in any way to, directly or indirectly, the Deepwater Horizon
Incident; and

(b) the amount that I indemnify BP shall not exceed the amount of insurance proceeds that 1
received for the business or property claim at issue.

CLAIMANT ACKNOWLEDGES THAT THIS CERTIFICATION COMPLIES WITH ANY REQUIREMENT TO
EXPRESSLY STATE THAT LIABILITY FOR SUCH CLAIMS IS INDEMNIFIED AND THAT THIS
CERTIFICATION IS CONSPICUOUS AND AFFORDS FAIR AND ADEQUATE NOTICE.

meee ee SIGNATURES

GEO — Yi [2003

Date

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Claimant's Name

if Business Entity Claimant

Claimant's Spouse's Name

if applicable
REL-1 Deepwater Horizon Settlement Release and Covenant Not to Sue Claimant ID: 100161855
WES LD a TT Page 20 of 20 Claim ID: 123094

Dx
Case 2:10-md-02179-CJB-DPC Document 12435-3 Filed 02/28/14 Page 10 of 25

Exhibit E
a erator

ee Ke oe bd an ih "
Last First Middle Initial
Name:

Social Security Number/ Individual Taxpayer Identification Number:

Last First Middle initial
Spouse Name:

4

Spouse Social Security Number/ Individual Taxpayer Identification Number:

Authorized Business
Representative:

Authorized Business Representative
Identification Number:

‘ Last Middle Initial
Spouse Name:

REPRESENTATIVE Seen ae
If the claimant is: (1) deceased; (2) a minor; or (3) incompetent and legally unable to sign-for himself or herself, you must

submit documentation to the Claims Administrator showing your authority to act on behalf of the claimant, if you have not
already done so. See Section 4 of the Registration Form Instructions Booklet for a description of the required documentation.

Representative Last First Middle Initial
Name:
Representative Social Security Number/ Individual Taxpayer Identification
Number:
The clai tis C} Deceased 1 Incompetent C1 Declared Bankrupt (or currently undergoing Bankruptcy
e claimant is:
E] A Minor C1 A Dissolved Business Proceedings)
Source of your

authority to act as [LI Court Order 0 Power of Attorney _[[] Letters of Administration

Representative for |] Tutorship (1 Conservatorship 1] Guardianship C1 other (specify):
the claimant:

Claimant ID: 100157880 ; Claim Type: Business Economic Loss
CEO HA
ey Dp
Claim 1D: 120437 é 5 °\ Payment Amount: (365,045.95,
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REL-1 Deepwater Horizon Settlement Release and Covenant Not to Sue Claimant ID: 100157880
All claimants have the right to consult with an attorney of their own choosing prior to accepting any
settlement payment or signing a release of legal rights. If you are represented by an attorney in
connection with your claim, confer with your attorney before signing this document.

The attached Full and Final Release, Settlement, and Covenant Not to Sue (“Individual Release”) is a binding legal
document. By signing this document, you are forever waiving and releasing all claims that you may have against BP
or any other party in connection with the Deepwater Horizon Incident (as defined in the Individual Release) except
for Expressly Reserved Claims (as defined in the Individual Release).

By signing the attached Individual Release, you are forever giving up and discharging any rights that
you may have for any costs, damages, causes of actions, claims, or other relief related to or arising
from the Deepwater Horizon Incident except for Expressly Reserved Claims even if you are not
currently aware of such costs or damages and even if such costs or damages arise in the future (i.e.,
additional oil impacts) or do not manifest themselves until the future.

By signing the attached Individual Release, you acknowledge that you have read and understand the terms of the
Individual Release, and that you execute the Individual Release voluntarily and without being pressured or
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BP or any other released party.

The settlement payment you have been offered arises under the auspices of the federal District Court in New
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Court has not yet given final approval of that proposed settlement. If the Court does approve the proposed class
action settlement, an appellate court could reverse the approval. In addition, it is possible that the terms of the
proposed settlement may change in the future—for better or for worse—as a result of further legal proceedings.
However, if you sign this Individual Release, none of those uncertain future events will affect you. By signing this
Individual Release you are forever waiving and releasing all claims that you may have against BP
(except for Expressly Reserved Claims) in exchange for the compensation being provided. In fact, even
if the Court does not approve the proposed class action settlement agreement or the approval is reversed by an
appellate court, you shall continue to be bound by this Individual Release,

For a Business Claimant, if the business is a sole proprietorship and you are the owner and you are married, or if
the business is jointly owned by you and your spouse, both you and your spouse must sign the Individual Release. °
For an Individual Claimant, if you are married, both you and your spouse must sign the Individual Release. You and
your spouse should not sign the Individual Release unless you both intend to release and give up all of your claims.

By signing below, you acknowledge that you have read and understand the information above. You elect to accept
the payment as a final settlement of all claims against any party in connection with the Deepwater Horizon Incident
except for Expressly Reserved Claims. You consent to the use and disclosure by the Claims Administrator and those
assisting the Claims Administrator of any information that the Claims Administrator believes necessary and/or
helpful to process your claim for compensation and payment and to any legitimate business purposes associated
with administering the settlement facility. Finally, you consent to the Claims Administrator providing documentation
and information to Lead Class Counsel, BP, and the Court as provided for in the Settlement Agreement. ,

EXHIBIT £-

REL-1 Neanwater Harignn CotHomant Rataace and Cavenant Nat ta Sia Claimant TN: 19N157aRaNn

Case 2:10-md-02179-CJB-DPC Document 12435-3 Filed 02/28/14 Page 13 of 25

 CINGKNOWIEDG EMENT: ~
ee ACK REAP

we.

we acknowledge that I/we have read and understand the information above, I/We consent to the claimant's
election to accept the payment as a final settlement of all claims of claimant against any party in connection with
the Deepwater Horizon Incident except for Expressly Reserved Claims.

*f30 [13

Date /

Signature of Claimant

Signature of Claimant’s Spouse Date

E-S

REL-1 Deepwater Horizon Settlement Release and Covenant Not to Sue Claimant ID: 100157880
UU ATER ECA A Page 3 of 20 Claim ID: 120437

20. NoCaxcAdvigem Neds ait@ragatang thas Redes & ttl SARIGSE RELEASE HEAS tine
consideration granted in Paragraph 2 above) to Claimant is being given or will be given by the Released
Parties, nor is any representation or warranty in this regard made by virtue of this Individual Release.
Claimant must consult his, her or its own tax advisors regarding the tax consequences of the Individual
Release (including the consideration granted in Paragraph 2 above) and any tax reporting obligations
Claimant may have with respect thereto. Claimant's tax obligations, and the determination thereof, are his
her, or its sole responsibility, and it is understood that the tax consequences may vary depending on
Claimant's particular circumstances. The Released Parties shall have no liability or responsibility
whatsoever for any such tax consequences resulting from payments under this Individual! Release. To the
extent required by law, payments made from the Settlement Trust under this Individual Release will be
reported to the appropriate authorities.

f

"” SIGNATURES:
‘ oe :

Claimant's Signature

/ Title,

Claimant's Name Date
if Business Entity Claimant
Claimant's Spouse's Name Claimant's Spouse's Signature, Date

if applicable -

EXHIBIT £-4

REL-1 Deenwater Harizon Settlement Release and Covenant Not to Sue Claimant ID: 100157880
Case 2:10-md-02179-CJB-DPC Document 12435-3 Filed 02/28/14 Page 15 of 25
IN RE: OIL SPILL by “Deepwater Horizon”

DIRECT FILING SHORT FORM’

Authorized by Order of the Court, Civil Action No. 10 md 24 79 Rec. Doc. 982
(Copies of said Order having also been filed in Civil Actions No. 10-8888 and 10-2771)

MDL 2179 SECTION: J JUDGE CARL BARBIER

CLAIM IN LIMITATION-JOINDER IN MASTER ANSWER--INTERVENTION AND JOINDER
IN MASTER COMPLAINTS — PLAINTIFF/CLAIMANT PROFILE FORM

By submitting this document, | am asserting a claim in Complaint and Petition of Triton Asset Leasing GmbH, et
al., No. 10-2771; adopt and incorporate the Master Answer [Rec. Doc. 244] to the Complaint and Petition of Triton
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[Rec. Doc. 879] for private economic losses (“B1 Bundle”) filed in MDL No. 2179 (10 md 2179); and/or intervene
into, join and otherwise adopt the Master Complaint [Rec. Doc. 881] for post-expilosion injuries (“B3 Bundle”)
filed in MDL No. 2179 (10 md 2179).

Last Name First Name Middle Name/Maiden Suffix
| weanues om” Cn Galak |
Phone Number E-Mail Address |

Address City / State / Zip

| INDIVIDUAL CLAIM CJ BUSINESS CLAIM a

| Employer Name Business Name

Job Title / Description Type of Business |
Cr:

| Address Address |

a |

| City / State / Zip a / State / = .

| Last 4 digits of your Social! Security Number Last 4 digits of your Tax ID Number |
€637>
Attorney Name Firm Name |

| JESSICA B. REILLY RESTIVO & REILLY, LLC |
Address City / State / Zip |
103400 OVERSEAS HIGHWAY, SUITE 237 KEY LARGO, FL 33037
Phone Number E-Mail Address

jessica@restivoandreill
Claim Filed with GCCF?:; YES O

305) 453-4961

| Claim filed with BP? Yes ( NO

| If yes, BP Claim No.: If yes, Claimant identification No.:

Claim Type (Please check ail that apply):

| C] Damage or destruction to real or personal! property 0 Fear of Future Injury and/or Medical Monitoring

a Earnings/Profit Loss O Loss of Subsistence use of Natural Resources
| Personal injury/Death oO Removal and/or clean-up costs |
Pte. __|

* This form should be filed with the U.S. District Court for the Eastern District of Louisiana, 500 Poydras Street, New Orleans, Louisiana 70130, in Civil Action No.
10-8888. While this Direct Filing Short Form is to be filed in CA No. 10-8888, by prior order of the Court, (Rec. Doc. 246, C.A. No. 10-2771 and Rec. Doc. 982 in MDL
2179), the filing of this form in C.A. No. 10-8888 shall be deemed to be simultaneously filed in C.A, 10-2771 and MDL 2179. Plaintiff Liaison Counsel, after being
notified electronically by the Clerk of Court of the filing of this Short Form, shall promptly serve this form through the Lexis Nexis service system on Defense Liaison.

Case 2:10-md-02179-CJB-DPC Document 12435-3 Filed 02/28/14 Page 16 of 25

| Brief Description:

| 1. For earnings/profit ioss, property damage and loss of subsistence use claims, describe the nature of the injury. For claims |
involving real estate/property, include the property location, type of property (residential/commercial), and whether physical |
damage occurred. For claims relating to fishing of any type, include the type and location of fishing grounds at issue.

|

SEE ATTACHED LETTER

| 2. For personal injury claims, describe the injury, how and when it was Sustained, and identify all health care providers and
| employers 2008 to present and complete authorization forms for each.

|
| 3. For post-explosion claims related to clean-up or removal, include your role in the clean-up activities, the name of your |
employer, and where you were working. |

The filing of this Direct Filing Short Form shall alse serve in Heu of the requirement of a Plaintiff to file a Plaintiff Profite Form.

E &
Case 2:10-md-02179-CJB-DPC Document 12435-3 Filed 02/28/14 Page 17 of 25

Please check the box(es) below that you think apply to you and your claims:

Non-governmental Economic Loss and Property Damage Claims (Bundle B1)

C1. Commercial fisherman, shrimper, crabber, or oysterman, or the owner and operator of a business involving fishing, shrimping,
crabbing or oystering.

0 2. Seafood processor, distributor, retail and seafood market, or restaurant owner and operator, or an employee thereof.

C) 3. Recreationa! business owner, operator or worker, including a recreational fishing business, commercial guide service, or charter
fishing business who earn their living through the use of the Gulf of Mexico.

4. Commercial business, business Owner, operator or worker, including commercial divers, offshore oilfield service, repair and
supply, real estate agents, and supply companies, or an employee thereof.

OJ 5. Recreational sport fishermen, recreational diver, beachgoer, or recreational boater.
0 6. Plant and dock worker, including commercial seafood plant worker, longshoreman, or ferry operator.

7 Owner, lessor, or lessee of real Property alleged to be damaged, harmed or Impacted, physically or economically, including
lessees of oyster beds.

C1 8. Hotel owner and operator, vacation rental owner and agent, or all those who earn their living from the tourism industry.
Og. Bank, financial institution, or retail business that suffered losses as a result of the spill.
(1 10. Person who utilizes natural resources for subsistence.

[] 11. Other:

Post-Explosion Personal injury, Medical Monitoring, and Property Damage Related to Cleanup (Bundle B3)

C1. Boat captain or crew involved in the Vessels of Opportunity program.

O 2. Worker involved in decontaminating vessels that came into contact with oil and/or chemical dispersants.

1 3. Vessel captain or crew who was not involved in the Vessels of Opportunity program but who were exposed to harmful chemicals,
odors and emissions during post-explosion clean-up activities.

0 4. Clean-up worker or beach personnel involved in clean-up activities along shorelines and intercoastal and intertidal zones.
OO 5. Resident who lives or works in close proximity to coastal waters.

O16. Other:

Both BP and the Gulf Coast Claims Facility (‘GCCF”) are hereby authorized to release to the Defendants in MDL
2179 all information and documents submitted by above-named Plaintiff and information regarding the status of any
Payment on the claim, subject to such information being treated as “Confidential Access Restricted” under the Order
Protecting Confidentiality (Pre-Trial Order No. 11), and subject to full copies of same being made available to both
the Plaintiff (or his torney if applicable) filing this form and PSC through Plaintiff Liaison Counsel.

WA

Claimant or Attorney Signature,

JESSICA B. REI le, ESQ.
Print Name VU

12/19/2012
Date

3

The filing of this Direct Filing Short Form shall aiso serve in Hieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.

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Exhibit F
pe OEM SR eee Petre
a a eae AS
Name: last st — Middle nna
Social Security Number/ Individual Taxpayer Identification Number:
Spouse Name: Vast i Middle Initial

Spouse Social Security Number/ Individual Taxpayer Identification Number:

7

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*BUSINESS:GLAIMANT 1
TONE IK SR at a

Ene

Name of Business: #Ferranovanct; inc.

Employer Identification Number/ Social Security Number:

Authorized Business
Representative:

Identification Number:

Authorized Business Representative Social Security Number/ Individual Taxpayer

=

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Last
Spouse Name:

First Middle Initial

Spouse Social Security Number/ Individual Taxpayer Identification Number:

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E'CUAIMAN REPRESENTATIVE:

If the claimant is: (1) deceased; (2) a minor; or (3) incompetent and legally unable to sign fer himself or herself, you must
submit documentation to the Claims Administrator showing your authority to act on behalf of the claimant, if you have not
already done so. See Section 4 of the Registration Form Instructions Booklet for a description of the required documentation.

Representative Last First Middle Initial
Name:
Representative Social Security Number/ Individual Taxpayer Identification
Number:
. . Cj Deceased C1 Incompetent C0 Declared Bankrupt (or currently undergoing Bankruptcy
The claimant is: . . . Proceedings)
(11 A Minor C1 A Dissolved Business g

Source of your we :
authority to act as [CJ Court Order 0 Power of Attorney [7] Letters of Administration
Representative for |] Tutorship [1 Conservatorship 1) Guardianship C1 other (specify):
the claimant:

Te By ea re, 2A Shag ais De

te “21g IVS PAVMENT IFORMATION: _ -
Claimant ID: Claim Type: Business Economic Loss
Claim ID: Payment Amount: Sanne,

IMPORTANT INFORMATION ABOUT THE ATTACHED FULL AND FINAL RELEASE,

SETTLEMENT, AND COVENANT NOT TO SUE

All daimants have the right to consult with an attorney of their own choosing prior to accepting any
settlement payment or signing a release of legal rights. If you are represented by an attorney in
connection with your claim, confer with your attorney before signing this document.

The attached Full and Final Release, Settlement, and Covenant Not to Sue (“Individual Release”) is a binding legal
document. By signing this document, you are forever waiving and releasing all claims that you may have against
BP or any other party in connection with the Deepwater Horizon Incident (as defined in the Individual Release)
except for Expressly Reserved Claims (as defined in the Individual Release).

By signing the attached Individual Release, you are forever giving up and discharging any rights that
you may have for any costs, damages, causes of actions, claims, or other relief related to or arising
from the Deepwater Horizon Incident except for Expressly Reserved Claims even if you are not
currently aware of such costs or damages and even if such costs or damages arise in the future (i.e.,
additional oil impacts) or do not manifest themselves until the future.

By signing the attached Individual! Release, you acknowledge that you have read and understand the terms of the
Individual Release, and that you execute the Individual Release voluntarily and without being pressured or
influenced by, and without relying upon, any statement or representation made by any person acting on behalf of
BP or any other released party.

The settlement payment you have been offered arises under the auspices of the federal District Court in New
Orleans presiding over the multidistrict litigation titled Jn re Oi/ Spill by the Oi Rig “Deepwater Horizon” in the Gulf
of Mexico, on April 20, 2010 (MDL No, 2179). A class action settlement has been proposed in that case, but the
Court has not yet given final approval of that proposed settlement. If the Court does approve the proposed class
action settlement, an appellate court could reverse the approval. In addition, it is possible that the terms of the
proposed settlement may change in the future—for better or for worse—as a result of further legal proceedings.
However, if you sign this Individual Release, none of those uncertain future events will affect you. By signing
this Individual Release you are forever waiving and releasing all claims that you may have against
BP (except for Expressly Reserved Claims) in exchange for the compensation being provided. In fact,
even if the Court does not approve the proposed class action settement agreement or the approval is reversed by
an appellate court, you shall continue to be bound by this Individual Release.

For a Business Claimant, if the business is a scle proprietorship and you are the owner and you are married, or if
the business is jointly owned by you and your spouse, both you and your spouse must sign the Individual Release.
For an Individual Claimant, if you are married, both you and your spouse must sign the Individual Release. You

and your spouse should not sign the Individual Release unless you both intend to release and give up all of your
claims.

EXHIBIT F-2
By signirfg BefoW; YeulTeenebicdige Thabo nave ees Understand thedn Gynation above You Cleat to accept
the payment as a final settlement of all claims against any party in connection with the Deepwater Horizon
Incident except for Expressly Reserved Claims. You consent to the use and disclosure by the Claims Administrator
and those assisting the Claims Administrator of any information that the Claims Administrator believes necessary
and/or helpful to process your claim for compensation and payment and to any legitimate business purposes
associated with administering the settlement facility. Finally, you consent to the Claims Administrator providing

documentation and information to Lead Class Counsel, BP, and the Court as provided for in the Settlement
Agreement.

~ ACKNOWLEDGEMENT

I/We acknowledge that I/we have read and understand the information above. I/We consent to the claimant’s
election to accept the payment as a final settlement of all claims of claimant against any party in connection with
the Deepwater Horizon Incident except for Expressly Reserved Claims.

V2 b/ 13

Date

Signature of Claimant

Signature of Claimant's Spouse Date

EXHIBIT 3
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20. No Tax Advice. No opinion regarding the tax consequences of this Individual Release (including the
consideration granted in Paragraph 2 above) to Claimant is being given or will be given by the Released
Parties, nor is any representation or warranty in this regard made by virtue of this Individual Release.
Claimant must consult his, her or its own tax advisors regarding the tax consequences of the Individual
Release (including the consideration granted in Paragraph 2 above) and any tax reporting obligations
Claimant may have with respect thereto. Claimant's tax obligations, and the determination thereof, are
his, her, or its sole responsibility, and it is understood that the tax consequences may vary depending on
Claimant's particular circumstances. The Released Parties shall have no liability or responsibility
whatsoever for any such tax consequences resulting from payments under this Individual Release. To the
extent required by law, payments made from the Settlement Trust under this Individual Release will be
reported to the appropriate authorities.

SIGNATURES

Claimant's Signature & Title,
if Business Entity Claimant

Claimant's Name

Claimant's Spouse's Name Claimant's Spouse's Signature, Date
if applicable

EXHIBIT F4

REL-1 Deepwater Horizon Settlement Release and Covenant Not to Sue Claimant ID: 100139232

EOLA EA Paae 14 of 20 Claim ID: 114958
MDL 2179 SECTION: J

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IN RE: OIL SPILL by “Deepwater Horizon”

DIRECT FILING SHORT FORM"

Authorized by Order of the Court, Civil Action No. 10 md 2179 Rec. Doc. 982
(Copies of said Order having also been filed in Civil Actions No. 10-8888 and 10-2771)

JUDGE CARL BARBIER

CLAIM IN LIMITATION--JOINDER IN MASTER ANSWER--INTERVENTION AND JOINDER
IN MASTER COMPLAINTS — PLAINTIFF/CLAIMANT PROFILE FORM

By submitting this document, | am asserting a claim in Complaint and Petition of Triton Asset Leasing GmbH, et
al., No. 10-2771; adopt and incorporate the Master Answer [Rec. Doc. 244] to the Complaint and Petition of Triton
Asset Leasing Gmbh, et al., in No. 10-2771; and/or intervene into, join and otherwise adopt the Master Complaint
[Rec. Doc. 879] for private economic losses (“B1 Bundle”) filed in MDL No. 2179 (10 md 2179); and/or intervene
into, join and otherwise adopt the Master Complaint [Rec. Doc. 881] for post-explosion injuries (“B3 Bundle”)
filed in MDL No. 2179 (10 md 2179).

Last Name First Name Middle Name/Maiden Suffix
GEERALSON quam
| Phone Number E-Mail Address
G05). 453-7003 Gin,
| Address City / State / Zip
8 UR er ag ct SE
| INDIVIDUAL CLAIM C] BUSINESS CLAIM i

Employer Name Business Name

Job Title / Description Type of Business
‘Address Address
City / State / Zip City / State / Zip

Last 4 digits of your Tax ID Number

Last 4 digits of your Social Security Number

Attorney Name Firm Name
JESSICA B. REILLY RESTIVO & REILLY, LLC

Address City / State / Zip
103400 OVERSEAS HIGHWAY, SUITE 237 KEY LARGO, FL 33037
Phone Number E-Mail Address
305) 453-4961 jessica@restivoandreilly.com

Claim filed with BP? Yes [1 NO wl Claim Filed with GCCF?: YES CT] NO i

If yes, BP Claim No If yes, Claimant Identification No.:

Claim Type {Please check all that apply):

oO Damage or destruction to real or personal property 0 Fear of Future Injury and/or Medical Monitoring
a Earnings/Profit Loss O Loss of Subsistence use of Natural Resources
O Personal Injury/Death O Removal and/or clean-up costs

oO Other:

' This form should be filed with the U.S. District Court for the Eastern District of Louisiana, 500 Poydras Street, New Orleans, Louisiana 70130, in Civil Action No.
10-8888. While this Direct Filing Short Form is to be filed in CA No. 10-8888, by prior order of the Court, (Rec. Doc. 246, C.A. No. 10-2771 and Rec. Doc. 982 in MDL
2179), the filing of this form in C.A. No. 10-8888 shall be deemed to be simuttaneously filed in C.A. 10-2771 and MDL 2179. Plaintiff Liaison Counsel, after being
notified electronically by the Clerk of Court of the filing of this Short Form, shail promptly serve this form through the Lexis Nexis service system on Defense Liaison.

—

The filing of this Direct Filing Short Form shall also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.

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Case 2:10-md-02179-CJB-DPC Document 12435-3 Filed 02/28/14 Page 24 of 25
SSS A SE TEE TE

Brief Description:

1. For earnings/profit loss, property damage and loss of subsistence use claims, describe the nature of the injury. For claims
involving real estate/property, include the property location, type of property (residential/commercial), and whether physical
damage occurred. For claims relating to fishing of any type, include the type and location of fishing grounds at issue.

SEE ATTACHED LETTER

2. For personal injury claims, describe the injury, how and when it was sustained, and identify all health care providers and
employers 2008 to present and complete authorization forms for each. :

3. For post-explosion claims related to clean-up or removal, include your role in the clean-up activities, the name of your
employer, and where you were working.

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The filing of this Direct Filing Short Form shail also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.

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EXHIBIT Fe
Case 2:10-md-02179-CJB-DPC Document 12435-3 Filed 02/28/14 Page 25 of 25

Please check the box(es) below that you think apply to you and your claims:
Non-governmental Economic Loss and Property Damage Claims (Bundle B1)}

CJ 1. Commercial fisherman, shrimper, crabber, or oysterman, or the owner and Operator of a business involving fishing, shrimping,
crabbing or oystering.

0 2. Seafood processor, distributor, retail and seafood market, or restaurant owner and operator, or an employee thereof.

3. Recreational business owner, operator or worker, including a recreational fishing business, commercial guide service, or charter
fishing business who earn their living through the use of the Gulf of Mexico.

4. Commercial business, business owner, operator or worker, including commercial divers, offshore oilfield service. repair and
supply, real estate agents. and supply companies, or an employee thereof.

5. Recreational sport fishermen. recreational diver, beachgoer, or recreational boater.

7 Owner, lessor, or lessee of real property alleged to be damaged. harmed or impacted, physically or economically, including
lessees of oyster beds.

Ol
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C]
C6 Plant and dock worker, including commercial seafood plant worker, longshoreman, or ferry operator
a
OD 8. Hote! owner and operator, vacation rental owner and agent, or all those who earn their living from the tourism Industry.
C1 9. Bank, financial institution, or retail business that suffered losses as a result of the spill.

0 10 Person who utilizes natural resources for subsistence

(J 11. Other:
Post-Explosion Personal Injury, Medical Monitoring, and Property Damage Related to Cleanup (Bundle B3)
C1 i. Boat captain or crew involved in the Vessels of Opportunity program

D2. Worker involved in decontaminating vessels that came into contact with oil and/or chemical dispersants.

CI 3. Vessel captain or crew who was not involved in the Vessels of Opportunity program but who were exposed to harmful chemicals,
odors and emissions during post-explosion clean-up activities.

Ol 4 Clean-up worker or beach personnel involved in clean-up activities along shorelines and intercoastal and intertidal zones.
1 5. Resident who lives or works in close proximity to coastal waters.

[I 6. Other:

Both BP and the Gulf Coast Claims Facility ((GCCF") are hereby authorized to release to the Defendants in MDL
2179 all information and documents submitted by above-named Plaintiff and information regarding the status of any
payment on the claim, subject to such information being treated as “Confidential Access Restricted” under the Order
Protecting Confidentiality (Pre-Trial Order No. 11), and subject to full copies of same being made available to both
the Plaintiff (or his attorney if applicable) filing this form and PSC through Plaintiff Liaison Counsel.

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Claimant or Attorney Signature

JESSICA B. RETULY, EgQ.
Print Name UY V

10/25/2012
Date

3

The filing of this Direct Filing Short Form shail also serve in lieu of the requirement of a Plaintiff to file a Plaintiff Profile Form.

